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 1   Daniel Shanley (021322)
     Email Address: dshanley@deconsel.com
 2   Thomas Davis, admitted pro hac vice
     Email Address: tdavis(tUdeconsel.com
 3   DeCARLO & SHANLEY,
     a Professional Corporation
 4   533 S. Fremont Avenue, Ninth Floor
     Los Angeles~ California 90071-1706
 5   Telephone (.ll3) 488-4100
     Telecopier (213) 488-4180
 6
     Attorneys for Defendants, Carpenters Southwest
 7   Administrative Corporation and Board of Trustees
     For the Carpenters Southwest Trusts
 8
 9                          UNITED STATES DISTRICT COURT
10                                     DISTRICT OF ARIZONA
11

12   HKB, INC., an Arizona corporation,              No.2: 16-cv-03799-DJH
     doing business as Southwest                     No. 2:17-cv-00198-DJH
13   Industrial Rigging,

14                        Plaintiff,
                                                     DEFENDANTS' NOTICE OF
                                                     SERVICE OF INITIAL
15   v.                                              DISCLOSURE STATEMENT
16   Board of Trustees for the
     Carpenters Southwest
17   Trusts, erroneously sued as Board                   Before The Honorable
     Of Trustees for the                                   Diane J. Humetawa
18   Southwest Carpenter's
     Southwest Trust; et al
19                        Defendants.
20   CaJPenters Southwest
     Administrative Corporation,
21   et al

22                        Plaintiffs,

23   v.
     H K B Inc., et al
24
                          Defendants.
25
26   Ill
27   Ill
28                                              1   ..          .
            DEFENDANTS' NOTICE OF SERVICE OF INITIAL DISCLOSURE STATEMENT
      Case 2:16-cv-03799-DJH Document 59 Filed 10/12/18 Page 2 of 3


 1         PLEASE TAKE NOTICE that on the date set forth below, the Defendants,
 2   Carpenters Southwest Administrative Corporation and Board of Trustees for the
 3   Carpenters Southwest Trusts, served upon Plaintiff H K B Inc., by mail, its initial
 4   rule 26(a)(l) disclosure statement.
 5
 6
     Dated: October~' 2018                  DeCARLO & SHANLEY,
 7                                          a Professional Corporation
 8
                                            By:~~
 9                                             Dante! Shanley
                                               Thomas Davis
10                                          Attorneys for Defendants,
                                            Carpenters Southwest Administrative
11                                          Corporation and Board of Trustees for the
                                            Carpenters Southwest Trusts
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         DEFENDANTS' NOTICE OF SERVICE OF INITIAL DISCLOSURE STATEMENT
               Case 2:16-cv-03799-DJH Document 59 Filed 10/12/18 Page 3 of 3

                                 CERTIFICATE OF SERVICE

                          (H K B, Inc., etc., v. Board of Trustees, etc.)
                         (USDC-Arizona Case No. 2:16-cv-03799DJH)


      I hereby certify that on October 12, 2018, I electronically transmitted the attached
document, DEFENDANTS' NOTICE OF SERVICE ()F INIT~AL DISCLOSURE
STATEMENT, to the Clerk's Office using the CM/ECF System for filing and transmittal of a
Notice of Electronic Filing to the following CM/ECF registrants:

             James Edward Holland, Jr. - jholland@stinson.com,cbarajas@stinson.com
             Javier Torres- javier.torres@stinson.com,cynthia.fischer@stinson.com




and by First Class Mail, addressed as follows:

James Edward Holland, Jr.                            Nicholas James Begakis
Javier Torres                                        LimNexis LLP
Stinson Leonard Street LLP                           1055 . W 7th St., 28th Fl.
1850 N Central Ave., Ste. 2100                       Los Angeles, CA 90017
Phoenix, AZ 85004-4584

in said action, by placing [X] a true copy thereof, [ ] an original enclosed in sealed envelope( s).

(BY MAIL) I placed such envelopes with postage thereon fully prepaid in the United States
Mail at 533 South Fremont Avenue, Los Angeles, California 90071.

                 Executed on October 12, 2018, at Los Angeles, California.

       I declare that I am employed in the office of a member of the bar of this court at whose
direction the service was made.
